Case 1-17-46613-nhl   Doc 36-1   Filed 03/01/18   Entered 03/01/18 18:58:00




               EXHIBIT A
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          SUPREME                  COURT                    OF THE                 STATE               OF       NEW YORK
          COUNTY                  OF     NEW YORK
          ----       ----         ---         ---         ---         ----         ----          ---      ---      ---        ----         ----x

          RUBEN              ELBERG,                      individually                    and      derivatively               on                   :
          behalf       of     ROYAL                   CP        HOTEL               HOLDINGS                      LP     and                       :
          ROYAL              HI    HOTEL                    HOLDINGS                         LP,                                                   :

                                                                                  Plaintiff,                                                       :
                                                                v.                                                                                 :
          CRABAPPLE                          CORP.              and          TAMARA                    PEWZNER                                     :

          individually,                 as co-executor                        and         co-trustee            of the        Estate        of     :
          Jacob      Elberg,             and         as court-designated                               Manager           of     ROYAL              :     Index      No.    653373/2016
          ONE       REAL            ESTATE,                      LLC,             ROYAL                REAL          ESTATE                        :             (Ramos,     J.S.C.)
          MANAGEMENT                                 LLC,            ROYAL                 LIC         REAL          ESTATE                        :
          MANAGEMENT                                 LLC,                                                                                          :

                                                                                  Defendants,                                                      :
                                                                                                                                                   :
                                                                and                                                                                :
                                                                                                                                                   :
          ROYAL              ONE             REAL               ESTATE,                   LLC,         ROYAL             REAL                      :
          ESTATE              MANAGEMENT                                      LLC,          ROYAL               LIC       REAL                     :
          ESTATE              MANAGEMENT                                      LLC,          ROYAL               HOTEL                &             :
          RESORTS                 LLC,          ROYAL                        CP   HOTEL                 HOLDINGS                                   :

          LP,      ROYAL                HI     HOTEL                   HOLDINGS                        LP,      ZHU       QING,                    :
          FENG         LI,        MENGSHA                            CHEN,           RUIZHEN                    WANG,
          HONG              GE,    QIN              SI,    YANG               ZHANG,                   ZHE        FANG,              and
          XU       NING,


                                                                                  Nominal               Defendants.
          ----       ----         ---         ---         ---         ----         ----          ---      ---      ---        ----         ----x




                                                            MEMORANDUM                                       OF      LAW             IN     OPPOSITION            TO
                                   DEFENDANT'S                                     MOTION                    BY ORDER                      TO SHOW        CAUSE            FOR A
                                   HEARING                            ON REMOVAL                                OF       CO-MANAGER                    RUBEN         ELBERG




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                                                                                                                                                 "Elberg"                    "Plaintiff"
                        Plaintiff,             Ruben             Elberg            (hereinafter                  referred             to as                               or "Plaintiff")              submits            this


          memorandum                      of   law      in opposition                        to defendant                   Tamara              Pewzner's                 (hereinafter           referred            to as


                                    "emergency"
          "Pewzner")                                                application                    for      an order             to    show          cause         for      a hearing          on removal                 of



          Elberg        as co-manager                       of     Royal           One            Real       Estate,            LLC          (hereinafter             referred             to as "RORE"),                   Royal


          Real       Estate         Management                      LLC           (hereinafter                   referred             to as "RREM,")                        and      Royal       LIC      Real       Estate


          Management                                 (hereinafter                                                 referred             to as the                                                       and     co-
                                        LLC,                                       collectively                                                           "defendant-LLCs")


          manager            of     the     general           partners                 of    Royal          HI     LP       and        Royal         CP       LP      (hereinafter              collectively

                                               "defendant-entities").1
          referred          to as the


                                                                                   PRELIMINARY                                   STATEMENT


                        There           is no        basis         for     this        Court            to remove                Elberg          as co-manager                      of the      defendant-LLCs.


          As     a threshold               matter,           the     First         Department                     reversed              the     Court's            removal            of     Elberg       as co-


          manager            of     the     defendant-LLCs                             in the           matter         of    Crabapple               Corp., . et al.                v. Ruben           Elberg,            Royal


          One        Real     Estate,          LLC,           et al.,        Index               No.      650492/2015,                       (hereinafter                referred          to as the         "Crabapple


          Action"
          Action"),           finding           that        before          Elberg                was      removed,               the        Court      should              have      at least        held      an



          evidentiary              hearing            on the             issue.             See NYSCEF                       Doc.         # 38       at 3 (First              Department               Decision                and


                                                                                                                                                                             "emergency"
          Order        dated        August             15,       2017).                Pewzner              then        inexplicably                  filed        this                                 order        to     show


          cause       in the        wrong            action.              This         action            is the     declaratory                  judgment                 action      whereby            Plaintiff             seeks


          an order           declaring            the       validity              of    certain            partnership                 agreements-the                            management               of the          LLCs


          is an entirely                separate            issue         that         has       no      bearing            on the        matters             sub judice.              See NYSCEF                    Doc.            #


          34     (Proposed              Order          to    Show            Cause).                   Additionally,                  certain        parties          to the         Crabapple            Action            have


          not     appeared              in this        declaratory                 judgment                  action             and     therefore             have         not      received          notice       of the




          '
              This     memorandum                       is supported                        by    the      Affirmation                  of     James          M.     Catterson              dated       February               20,
          2018,        and        the     exhibits           attached              thereto.




                                                                                                                            I



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          "emergency"
                                        order      to    show           cause.           See       NYSCEF                 Doc.      # 52         (Pewzner's                Affirmation                 of     Service,



          citing      no    order         directing           alternative                   process).              The      Court         should            deny     Pewzner's                  application


         because           those         individuals               are        entitled         to be heard.


                                                                                         "emergency"
                         Equally           fatal        to Pewzner's                                                  order        to     show         cause,        which              essentially            requests


          that     the     Court         grant      injunctive                 relief,        is that       she      has        failed         to demonstrate                    that     any     such



          emergency              exists.           See       Mem.             in    Support           of Application                     for     Hearing            at 5-6          (citing       Elberg's


                                                                                                                                                                                 Emergency"
          alleged        misconduct).                    First,         the        events        alleged           in Pewzner's                  "Affidavit               of                                  all


          occurred          more          than      a year          ago,           mostly,          in 2015.              See     Affidavit            of     Emergency                   at ¶¶       6, 8, 9,             10,


          11.      The      King's          County            Surrogate                  Court's           temporary              restraining               order         dated          August         28,         2014,


         procured           by       Pewzner,            barred           Elberg             from         acting          as a co-executor                    of    the        estate.         See     Exhibit               1


          (King's          County           Surrogate's                  Court           Order        to    Show           Cause).              Regardless               of whether               or not            Elberg


         had       any     ability        to act        on behalf                  of the      LLCs          and      could         have         consented                to an adjournment                          in the


          matter         of New           Fund,         LP     &Westlead                     Bridge,          LLC          v. Royal             One      Real        Estate,             LLC      et al.,       No.


          709631/2014                   (N.Y.       Sup.          Ct.     Queens             Cty.      2014)          (hereinafter                referred          to as the             "Foreclosure


          Action"
          Action"),          it is undisputed                     that        the     property             was       not     foreclosed                upon        in the           Foreclosure              Action.


          See New            Fund,         LP      &Westlead                       Bridge,         LLC       v. Royal              One         Real     Estate,           LLC           et al.,      No.


          709631/2014                   (N.Y.       Sup.          Ct.     Queens             Cty.      2014).             With       respect           to Pewzner's                     claim        that     Elberg


          subjected          the        LLCs        to the          liquidated               damages               provision             of     a licensing              agreement,               it is also


          undisputed             that      the     other          party            to the     licensing             agreement                  never     demanded                    liquidated             damages.


          See      Mem.        in       Support          of Application                      for      Hearing             at 7.     Pewzner              cannot           base          her     emergency


          application              on    Elberg's            refusal               to enter        into     the      settlement                agreement             in the           Crabapple               Action


                                                                                                                                                                           defendant-entities'
          because          she       successfully                 entered            into      that       agreement               and      liquidated              the     defendant-entities


                                                                                   "emergency"
          underlying             assets.           The       lack        of                                   here         is even         more         apparent               by    virtue       of the            fact     that




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          Pewzner          filed        a motion              to quash            Plaintiff's                 subpoenas                which              seek        information               necessary                 to


         prepare         for      an evidentiary                    hearing.                 See NYSCEF                         Doc.        # 65           (Notice           of Motion,               Sequence                 # 4).


                                                                    "emergency"
                        Even        if Pewzner's                                                       order        to     show         cause            were         properly            before           this      Court,


          which        is it not,         Pewzner               has      not      demonstrated                       a likelihood                   of     success               on the      merits,          as required


          for     injunctive            relief.           See    U.S.        Re       Companies,                     Inc.       v.    Scheerer,                41     A.D.3d             152,       155      (1st        Dep't


          2007).         Pewzner               cannot           overcome               the       hurdle            that      there         is no          authority,              statutory          or in the


          common            law,        that       would         grant         this        Court            power          to remove                 a co-managing                       member              of     a Limited



          Liability        Company                  ("LLC").                 It is not            surprising,               therefore,               that        Pewzner             makes           a last         gasp         effort


          to argue        that      Plaintiff               breached           his         fiduciary            duties          to the          LLCs,             and       therefore           removal              is


          warranted.               Even           if Pewzner              could             make            such         a showing,                which            she      cannot,          the    remedy               would


          be to bring             a breach             of    fiduciary            duty           claim         against            Plaintiff              for     damages-there                        is no         equitable



          remedy         available                to Pewzner              here,            even        if    she     could           prove          the        elements             of   such       breach.               See


          Access         Point       Med.,           LLC         v. Mandell,                     106        A.D.3d           40,      43      (1st        Dep't         2013).


                        Nor        could          Pewzner             succeed               on     claim           for     breach          of      fiduciary               duty.         Pewzner             claims              that


          Elberg's         dual-role               as co-manager                      of     the       defendant-entities                          and         Plaintiff           to this      declaratory


         judgment              action          inhibits         the     exercise              of his           fiduciary              duties.             That        claim         ignores          the      fact        that


          Pewzner          is the         only       interested              party          that       disputes             the      validity             of the           agreements               that      Elberg


          through         this     action           seeks        to enforce.                  Pewzner                also       argues             that        Elberg            breached           his     fiduciary


          duties       in the       past        and,        if allowed            to remain                  co-manager,                   will          breach            his     duties       once         more.             That


          claim       is similarly                without           merit.         All        of    Elberg's                decisions              were          in     furtherance              of the           Hotel


          Projects        that      the        LLCs          were       established                    to carry           out        and      no     decision               of his       resulted            in damages                   to


          those       entities.          Accordingly,                    Pewzner                 is unable               to articulate               a single              imminent             threat            that     Elberg


         poses        to the       interests              of the      LLCs            in his           capacity             as co-manager.




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                                                                                                                               "emergency"
                         Alone,           Pewzner's                 failure        to establish            either        an                                 or any         likelihood              of     success


                                                                                        "emergency"
          on the       merits         would               be fatal      to her                                      application.             Together,              these       failures           reveal         a


          sham        application                submitted             in the          wrong         action      by      an individual                whose         only        concern            is the


          furtherance               of her         financial           interests          as a beneficiary                    of   an LLC          member's                estate.          We


         respectfully               urge         the      Court       to deny           Pewzner's              motion          made        by     emergency                application               in its


          entirety.


                                                                                       STATEMENT                       OF          FACTS


                         Ruben            Elberg,           and      his      father      Jacob        Elberg,           set out      to develop              a Crowne               Plaza         hotel      and        a


                                                                                                                                                                  Projects"
          Hotel       Indigo          in Long              Island       City        (hereinafter              referred         to as the          "Hotel          Projects").                Ruben          and


          Jacob        were        the     sole        members,               60    and     40 percent,               respectively,              of two        limited          liability           companies


          that    held     title         (subject           to mortgages)                 to the       property           to be developed,                    RREM            and       RORE.              Exhibit


          2 at $3(b)           (RREM                Operating              Agmt.);          Exhibit           3 at 3 (RORE                 Operating              Agmt.).


                         Under            the     RREM              Operating             Agreement,              management                    was     vested         in Jacob,             as the        "sole


                                            Company."
          Manager             of    the                                 Exhibit           2 at $4       (RREM             Operating              Agmt.).            Under         the       RORE


          Operating            Agreement,                    management                   is vested           in its     members,            Jacob          and     Ruben,           and         "[a]1l


          decisions           relating            to the       management                   and      business            of the      Company                shall     be made               by     a majority


                                                                                                                                                                         Law."
          of the       Members,                 except         as otherwise                provided            in this        Agreement               or in the                         Exhibit            3 at 3¶


          4 (RORE             Operating                   Agmt.)        (emphasis                added).          Both         operating           agreements               permit           members               to


                                                                                                                                           agreed,"
          admit        additional               members              to the        LLC,        "as     may      be mutually                                   and     "subject              to the


                                                             Member."
          discretion           of the           initial                                Exhibit         2 at ¶ 3(a)            (RREM             Operating            Agmt.);            Exhibit            3 at ¶



          3(a)    (RORE              Operating               Agmnt.).


                         Jacob            and      Ruben            decided            to fund       the      Hotel      Projects          with        foreign        investments                   through             the


                                                                                          Program"
          Immigrant                Investor            Program             ("EB-5         Program")              administered                by       the   United           States         Citizenship




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                                                                       ("USCIS").2
          and       Immigration                   Services             ("USCIS").                     The     father            and        son     established                   Royal                CP      Hotel         Holdings


          LP       (hereinafter               referred              to as "Royal              CP")          for     the        development                     of the        Crowne                    Plaza         hotel,           and


          Royal        HI     Hotel           Holdings                LP     (hereinafter                referred              to as "Royal                   HI")        for        the        development                      of Hotel


          Indigo.           RORE              is the         general         partner          of     Royal          CP         and        Royal          LIC         Real        Estate               (a third         LLC            of


          which         Elberg           is the         only         surviving             member)                is the       general            partner            of     Royal               HI.         Consequently,


          the      managing              member                of    the     LLCs           is the       manager               of the           general          partners                  of     each        partnership.


                          The       partnerships                    were       initially           governed               by     two        Limited             Partnership                       Agreements                     dated


                                                                                                                                 Agreements"
          August          2012          (hereinafter                 referred          to as the            "August              Agreements").                            See        Exhibit                4 (Royal             CP


          Limited            Partnership                 Agmnt.             dated          August           10,     2012);            Exhibit            5 (Royal               HI         Limited                 Partnership


          Agmnt.            dated         August             3, 2012).            Under            the      August             Agreements                     Crabapple                    Corporation


          (hereinafter                 referred          to as "Crabapple")                         was       required               to raise            $7,500,000                    through                EB-5          investors.


          Crabapple               did     not      meet          the       fundraising              amount            and        the       agreements                     expired               by     their         own         specific


          terms.          Thereafter,                  the     parties         entered         into       new        limited              partnership                  agreements                      dated          November


                                                                                                                                Agreements"
          30,      2012       (hereinafter                   referred          to as the           "November                    Agreements").                          See NYSCEF                             Doc.          #3    (Royal


          CP       Limited             Partnership               Agmnt.             dated       November                   30,       2012);         NYSCEF                      Doc.             # 4 (Royal                 HI


          Limited            Partnership                 Agmnt.             dated      November                    30,     2012)            .


                          The       November                   Agreements                   extended               Crabapple's                   time         to raise           funds,               reduced           the


          amount            to be raised,                and         structured             each       partnership                with           four         classes           of    limited                partners            in    order


          of priority:             Class          A,     approved              EB-5          investors;             Class            B,    Crabapple;                  Class           C, the               real     estate           LLC

                                                                                                                                                                                                                                                     3
          owning            the    property              to be         developed              (i.e.,      either           RORE             or RREM);                     and        Class             D,     Ruben           Elberg.




          2
              By     investing             $500,000,                 a foreign             investor          would             become             eligible             to apply                 for     U.S.         residency
          through           the        EB-5       Program.
          3
              NYSCEF               Doc.         # 3 at 14 (Royal                      CP      Partnership                  Agmt.,               Subsection                 3.1.1);              NYSCEF                  Doc.          #4        at
          14 (Royal               HI     Partnership                  Agmt.,         Subsection                   3.1.1)         "Profits               for    each         fiscal              year        shall      be
          allocated           among             the      Partners            in the         following              order         and        priority:            (a)      First,           to the           Partners             up        to




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          As      a Class       D Limited                  Partner,         Ruben           Elberg           is entitled             to 40%              net     proceeds             from           a "Capital


          Event"
                         or dissolution                   consistent              with      Article          3.4      of the      November                      Agreements.                     NYSCEF                   Doc.


          #3     at 18        18 (Royal              CP      Partnership                 Agmt.,            Subsection             3.4.2(f));              NYSCEF                 Doc.          #4      at 18 (Royal


          HI     Partnership              Agmt.,            Subsection                 3.4.2(f)).


                         Jacob       contracted                with        two         additional            companies               to raise             capital         for     the     Hotel             Projects,            the


         NYC          Metro         Regional               Center,          LLC          (hereinafter              referred           to as "NYCMRC")                                 and       Westlead,                 Inc.


          (hereinafter            referred             to as "Westlead").                         See NYSCEF                    Doc.         #2      at 6 ¶ 29            (Complaint).                       Through


          those       relationships,                 the     Hotel         Projects           raised         upwards            of     $40,000,000.                       Soon          after        breaking


          ground         on the          Hotel         Projects,           in December                     2013,       Jacob         passed              away.          Ruben           and          Pewzner              were


          named         co-executors                   and      beneficiaries                of     Jacob's           estate.          See         id.     at 6 ¶ 30            (Complaint).


                         Upon        her      father's            passing,             Pewzner             immediately                fired         all        the    employees                 of    the     Hotel


          Projects.            She    ordered              that     all     work         on the        projects          be halted,                and         then     told      International                     Hotels



          Group        (hereinafter                referred           to as "IHG"),                   the     licensing           agent           for      both        Crowne             Plaza         and         the


          Hotel       Indigo,         that       the      progress           of the         Hotel          Projects         had       slowed.                  See     Exhibit           6 (Pewzner                     Email


          re:    Cease        and     Desist,           dated         February              5, 2014);           Exhibit           7 (Pewzner                     Notice          of Discontinuance                              to


                                                                                                                                                                                                     LLCs'
          IHG,        dated      May         20,       2014).          In response,                 IHG        requested              that     Ruben                 surrender           the



          licensing           agreement,                or risk        liquidated              damages.                See NYSCEF                         Doc.         #46      (IHG          Notice           of       Default


          and      Termination).                   IHG        had         never        made         this     threat       before,            and         in the        end      it never             acted         on     it.


                                                                                                                                                                                                "emergency"
          Pewzner           now       claims           that       Ruben           must       be removed                 as co-manager                          because           of     the




          and      in proportion                 to the       amount              of     Losses       previously                allocated                to each          of the        Partners              until        the
          aggregate            Profits        allocated              to each             of the      Partners          are      equal         to the            amount           of     Losses          previously
          allocated           to each        of the           Partners;            (b)     Second,            to the        Class       A     Limited                 Partners,          pro         rata     in
          accordance             with        their         Adjusted           Capital             Contributions,                 up     to the            amount             of the       Class         A      Preferred

          Return;        (c)     Third,          to the        Class        B Limited                Partner,          up     to the         Class             B Preferred          Return;                  (d)      Fourth,
                                                                                                                                                                             Partner."
          to the      Class         C Limited               Partner,          Class         D Limited               Partner           and      the        General




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         posed          by     the        remote           possibility               that     IHG        decides           to act       on the       liquidated                 damages               provision           after


          years         of    inaction.


                             Pewzner               also      brought           proceedings                 in     surrogate's             court      to prevent                 Elberg        from



          transferring                  title      from       the       LLCs         to the       partnerships.                  Her      application                  for     a temporary                restraining


          order      was           granted             and     additional              litigation           ensued.             See      Exhibit           1 (King's             County               Surrogate's


          Court         Order            to     Show         Cause,           dated         August          28,     2014).            NYCMRC                     and     Westlead            purchased                a


          mortgage                 on     one       of the        properties                to be developed                    and     then,       through             alter     egos,       commenced                    the


          Foreclosure                   Action.              See     Exhibit           12 (Complaint                     in the        matter       of New              Fund,         LP     &Westlead



          Bridge,            LLC          v. Royal            One        Real         Estate,        LLC          et al.,      No.      709631/2014                     (N.Y.         Sup.       Ct.     Queens           Cty.


          2014).              Shortly             thereafter,            Crabapple               and      their        EB-5          investors           filed     suit        against       Elberg,           the



          LLCs,          and        the         limited       partnerships                   claiming           breach          of     contract          and       breach         of     fiduciary            duty


          under         the     terms             of the      November                  Agreements.                    See      Crabapple                Corp.     . v. Royal              One         Real       Estate,         et



          al.,    No.        650492/2015,                     (N.Y.           Sup.      Ct.     2015).            Pewzner,             under       the      guise            of managerial                authority,


          directed            attorneys                to appear             on behalf           of the         entities         in both          actions.


                             The        investor           that     brought            the      Foreclosure                Action         negotiated               a stipulation                 of     adjournment


          with      Pewzner.                     See      Mem.          in    Support           of Application                   for     Hearing            at 6.            Elberg        was         excluded           from


          those         discussions.                      However             this     is irrelevant,              the      properties             subject         to the         Foreclosure                 Action


          were       never           foreclosed               upon.            See New              Fund,         LP      &Westlead                Bridge,             LLC        v. Royal             One        Real



          Estate,            LLC         et al.,       No.        709631/2014                   (N.Y.       Sup.         Ct.    Queens            Cty.      2014).


                             Crabapple                 proposed              to resolve           the     Crabapple               Action           (Index          No.         650492/2015)                   through            a


          merger             and        sale      of the       Hotel          Projects           to a real         estate        investment                fund         (hereinafter              referred           to     as


          the     "buyout/merger").                               The        terms      of the          buyout/merger                   allowed            the     LLCs          and       limited


         partnerships                    to abandon                 their      responsibilities                   to the       Hotel       Projects              and         to the    EB-5            investors.




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          See      Exhibit           8 at 3-4        (Letter          of     Intent).           The       buyout/merger                     awarded                the      LLCs          and     Crabapple


          amounts            exceeding              their         capital       investments                 to be paid             before          the       prioritized              Class        A       limited


         partners            (the     EB-5         investors)               were     paid.          Id.      Elberg            opposed           the     liquidation                 of the        Hotel


          Projects.             Pewzner            moved            on behalf            of the           defendant-entities                     to expel                 Elberg          as manager             of the


          LLCs         and      to    substitute            Pewzner             in his         stead.         See        Exhibit          9 (Order             to     Show          Cause,          dated        January


          7, 2016,           Index       No.       650492/2015,                     NYSCEF                 Doc.         # 238).          Unhappy                   with      the     deadlock              between


          Pewzner            and       Elberg,          plaintiff           investors           moved              to compel             the     defendant-entities                          to agree          to the


          buyout           settlement             in the       Crabapple                Action.             This        Court       granted            both          motions.               See     Exhibit            10


          (Order          of Discontinuance,                        dated          September               30,     2016,          Index         No.      650492/2015,                       NYSCEF               Doc.        #


          323).        Elberg          appealed             his     expulsion             to the          First     Department.                    See NYSCEF                         Doc.        # 38       at 3 (First


          Department                 Decision            and        Order       dated          August             15,     2017).          During             the      pendency              of    that      appeal,


          Pewzner,              as court-appointed                      manager,               completed                 the    merger/buyout                        and      liquidated             all     of the


          defendant-entities'                                                                                                                                                          8-9.4
          defendant-entities                       assets.          See      Mem.         of    Support             of Application                     for     Hearing              at 8-9.             Ultimately,


          the     First      Department                 reversed,            stating         "the         motion          court         acted      prematurely                     when          it granted           the


                                                                                                                                                                            hearing."
          motion           to remove              Elberg           as co-manager                  without               holding          an evidentiary                                             NYSCEF


          Doc.       # 38       at 3.



                          Elberg,           individually               and      derivatively                 on behalf             of    Royal          CP         and      Royal          HI,     instituted           this


          action          seeking        a judgment                 declaring            that       the     limited            partnerships                  are     governed              by     the      November


          Agreements.                   See NYSCEF                     Doc.         # 2 (Complaint).                       Rather           than       requesting                  that     an evidentiary



          hearing          on       Elberg's        removal             be held           in the          Crabapple               Action,          Crabapple                  Corp.        . v. Royal           One


          Real      Estate,           et al.,     No.       650492/2015                   (N.Y.           Sup.      Ct.     2015),          Pewzner                 filed     an emergency                    order         to


          show         cause         requesting             that      an evidentiary                  hearing             be held         in this        declaratory                  judgment               action.




          4
              Elberg         has      and       continues            to contest           Pewzner's                 designation                 as co-manager                       of the        LLCs.




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          See NYSCEF                   Doc.         # 34      (Proposed               Order            to     Show             Cause).              The        record         is clear-Pewzner                       moved



         by     order       to show           cause         for     an evidentiary                     hearing               on the             removal          of     Elberg,        in the       wrong           action.


          In    so doing,         she      failed      to notice                certain         plaintiffs                  in the         Crabapple              Action.           Those        plaintiffs,


          although          named          as nominal                   defendants               in the         instant              declaratory                judgment             action,        never          entered


          an appearance                  in this      action.


                                                                                                                                                "emergency"
                         Additionally,               Pewzner's                  demand                for     relief          in the                                       order       to    show      cause           far


          exceeds          the   scope         of    this         declaratory             judgment                  action.                In Pewzner's                  memorandum                  of     law      in


                                       "emergency"
          support          of her                                       application              for         a hearing,                   she     asks     the    Court          to evaluate           Elberg's


                                                                                                                                                               defendant-entities'
         past       conduct         and       determine                 whether           Elberg             poses           a threat             to the       defendant-entities                     interests              in


          the    future.         See      Mem.         in     Support             of Application                        for        Hearing.              This         declaratory           judgment               action,


          on the        other     hand,        is much              narrower              in    scope,           it asks             the        Court      to evaluate              duly       executed



         partnership             agreements.                  See NYSCEF                        Doc.          # 2 (Complaint).


                                                                                                      ARGUMENT

                                                                                                                       I.
                   PEWZNER'S
                                                 "EMERGENCY"                                    ORDER                   TO SHOW                          CAUSE             WAS         FILED              IN     THE
                                                                                               WRONG                        ACTION


                         The     First      Department                    reversed             this         Court's            removal              of     Elberg         as co-manager                   of the


          defendant-LLCs                    in the         matter          of    Crabapple                   Corp., . et al.                    v. Ruben          Elberg,           Royal       One        Real



          Estate,       LLC,        et al.,      Index            No.      650492/2015,                       stating              that     before         Elberg          was      removed,              the      Court


          should        have      at least          held      an evidentiary                     hearing               on         the     issue.           See NYSCEF                  Doc.       # 38          at 3 (First


          Department              Decision            and          Order        dated          August             15,         2017).              Pewzner              then     inexplicably               filed       this



          emergency              order        to show             cause         in the         wrong           action.                  This      action         is the       declaratory           judgment


          action        which       seeks        an order               declaring              the     validity               of     certain         partnership               agreements-the


          management                of the          LLCs          is an entirely                 separate               issue           that      has     no     bearing          on   the     matters           sub


         judice.           See NYSCEF                  Doc.          # 34        (Proposed                  Order            to     Show           Cause).            Additionally,              certain           parties




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          to the       Crabapple                Action          have       not           appeared               in this          declaratory               judgment                    action-namely,                      Zhu



          Qing,        Feng        Li,     Mengsha               Chen,              Ruizhen              Wang,             Hong          Ge,       Qin         Si,     Zhe       Fang,            Yang       Zhang,         and


          Xu Ning.               See NYSCEF                      Doc.          # 27        (Order             Directing                Alternative                   Service           of        Process         of the


                                          Complaint).5
          Summons                and      Complaint).                     Pewzner                  did        not     petition           for,      or receive,               an order               directing

                                                                                             "emergency"
          alternative             service          of process              of the                                                order      to     show          cause.            As         a result,        those       parties


         were         never       notified              about       the    removal                 hearing.                    See NYSCEF                      Doc         # 52         (Pewzner's                Affirmation


          of    Service).              Those         individuals                are       entitled             to be heard.                   On this            basis           alone,           the    Court        should



          deny        Pewzner's                 application.


                                                                                                                          H.
                                                                               THERE                     IS    NO "EMERGENCY"


                          It is preposterous                     for      Pewzner                  to label           her        request          for      Elberg's               removal               as an


          "emergency."                                                                                                                                                defendant-entities'
                                          After          she     completed                   the      merger/buyout,                        all    of the                                                         assets       were



          liquidated,             and      according              to her             counsel,             placed            in    escrow.                See     Mem.             in    Support             of Application


          for    Hearing              at 8-9.           Apart      from             disbursing                the      corpus            of the          transaction               according                to the      terms         of


          the     controlling              partnership                 agreement,                  there            are    few         managerial                actions,              if any,           remaining.            Of


          whatever            does        remain,           as a co-manager,                             neither           Pewzner                nor      Elberg            can        act       alone.         Therefore,


          the     only       possible            risk      is the       risk        of    a deadlock.                      If that       risk      were          to come               to fruition,              one    manager


          could        sue      the      other       for    breach             of                                          if they         felt     so compelled.                         As       the     defendant-
                                                                                      fiduciary                duty

                                                                                                                                                                                                          "emergency."
          entities        now          exist,      without           funds            or any             function              whatsoever,                 there          simply              is no


                          The      insufficiency                  of Pewzner's                      application                   is evident               on the          face         of her           emergency


          affidavit.             Nearly           every         event      alleged             took            place           years      ago.           See         Affidavit              of    Emergency                at ¶¶ 6




          5
                The      Court         granted           Elberg's          motion               for       an order               directing              alternative               service               of process         of the
          summons                and      complaint              in this            action         on Zhu              Qing,           Feng        Li,     Mengsha                 Chen,            Ruizhen            Wang,

          Hong         Ge,       Qin      Si,     Zhe      Fang,          Yang            Zhang,              and         Xu Ning.                See NYSCEF                       Doc.            # 27     (Order

          Directing            Alternative                 Service         of Process).




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          (citing           an email            from         Elberg's                 counsel             dated            December                   2, 2015);              8 (citing             adjournment                    in


          foreclosure                 action          from         December                   2015);                 9 (citing           email         from          IHG           dated         April          17 , 2015);               10



          (citing           Elberg's            refusal          to    approve                buyout/merger                            that        subsequently                    occurred);                  11(admitting                    that


          the     buyout/merger                       has        already              occurred).                     And      Pewzner                 does          not     allege          that        any      of the          events



          actually            injured           the     defendant-entities.


                            Pewzner             also        claims,             without              citing            any       authority,                that      in his         dual         role     as plaintiff                 to this


          action        and       co-manager                     of    the       LLCs,              Elberg             is inherently                   conflicted               and        unable              to act      in the         best


          interest           of the      LLCs.               See       Mem.             in     Support                 of Application                        for     Hearing              at 5.         Pewzner             does         not


          claim        that      Elberg           has        already             obstructed                    the      litigation                 against          the     LLCs,              or identified               how          he


          could        do       so.     Elberg's              status           as plaintiff                does            not      on       its    own       justify          his        removal              as co-manager.


          See       e.g.,     Ficus        Investments,                        Inc.     v. Private                    Capital            Management,                        LLC,          61 A.D.               311       (1st     Dep't



          2009)        (preserving                    an action            brought                  by    a manager                    against              the     LLC        that        he managed).



          Additionally,                  this      argument                  ignores            the        nature            of relief              that      Elberg           seeks,            a declaratory                   judgment



          enforcing              partnership                 agreements                      that        only         Pewzner                disputes.               Elberg              is thus         in    conflict           with         the


          LLCs         only           to the      extent           that        Pewzner                exercises                  her        control          over          those         entities         for     her      benefit.




                                                                                                                             III.
                      PEWZNER                         HAS             FAILED                  TO MAKE                            A SHOWING                            THAT                A PRELIMINARY
                        INJUCTION                            OR TEMPORARY                                             RESTRAINING                                  ORDER                  IS     WARRANTED


                            Pewzner             obfuscates                 what          form            of relief               she     actually             seeks          from          the      Court;         perhaps               the


          most        telling          sign      that        the      relief          sought             is patently                  improper.                   What        is clear,             however,              is that


          Pewzner               seeks         injunctive               relief,          apparently                     based           on     a vague              breach           of    fiduciary              duty        claim.             See


          Mem.          in     Support            of Application                        for     Hearing                    at 8 (asking                the         court      to "conduct                     a hearing,


                                                                                                                                                                              LLCs"
          determine              the     fitness            of     Ruben              Elberg             for         any     fiduciary               role         in the                         and          to designate


          Pewzner              as sole          Manager                of the           LLCs);                 id.     at 9 (stating                 that      the        "fiduciary               duty        claim        is based,




                                                                                                                                 11



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          not       on breaches               of    a particular                agreement,                   but       of        the         breach          of    Elberg's            statutory             duties         under


          LLC        Law         § 409").            There           is perhaps                no      better          example                    of    a fact       pattern           where         injunctive              relief             is



          entirely         improper.                Setting           aside        the     fact         that        Pewzner                   has       never        sued         Plaintiff          for     breach          of



          fiduciary             duty,       in this        declaratory               action             or otherwise,                         such         a claim           would         be compensable                            in



          money           damages,             not     equitable                relief.          See         Access                Point           Med.,          LLC        v. Mandell,               106      A.D.3d                    40,


          43     (1st     Dep't          2013).


                          Pewzner's                application                amounts               to a request                       for        a temporary                restraining              order         or



         preliminary                injunction.                 A     party       seeking               a temporary                          restraining             order         "must            demonstrate                  a



         probability               of    success           on       the    merits,             danger           of      irreparable                     injury        in the        absence            of     an injunction


                                                                                favor."
          and       a balance            of    equities          in its                             See        CPLR                §     6301;             61 West           62     Owners             Corp.     . v.       CGM


          EMP           LLC,       77 A.D.3d                 330,         337     (1st         Dep't         2010)             (internal                 citations           omitted).              Pewzner's


                                                                      "emergency"
          application              for     a so-called                                                 hearing               fails           to    satisfy         any       of the       elements             of     injunctive


          relief.         Her     failure          to do        so warrants                denial             of the             motion,                as the       grant        of    a temporary                 restraining

                                                                                                          used."
          order         is "a     drastic          remedy            to be        sparingly                                      Bisca            v. Bisca,           108      Misc.2d               227      (N.Y.          Sup.           Ct.


         Nass.          Cty.      1981);           see also           61West              62     Owners                Corp., ., 906                    77 A.D.3d             330       at 335         ("[A]


         preliminary                injunction               is a provisional                       remedy.                  Its       function              is not      to determine                  the     ultimate


          rights        of the      parties,          but       to maintain                the         status          quo         until           there      can       be    a full       hearing            on the


          merits.").


                          A.              The        Court            Should              Deny          Pewzner's                       Application                      Because              She      has      Failed               to
                                          Demonstrate                      Irreparable                       Harm


                          Pewzner's                claim        for       injunctive                relief          fails        at the            outset         because           she       has     made          no      showing

                                                                                                                                                                         "emergency"
          that      she    would           suffer       irreparable                 harm            if the          Court           fails          to hold         an                                   hearing             to


          remove           Elberg           as co-manager                       of the         LLCs            and          to install                 Pewzner           as the        sole     member                of the


                                                                                                             ("
          LLCs.           See      Affidavit            of      Emergency                  11-12             ("It      is to this                  point      that       I direct         my Petition                 for     a




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          hearing         so that            the     Court          may           determine             whether                  the        present              conflict           of    interest           and      prior           actions


          of Ruben           Elberg            require              his     removal            as a fiduciary                         for      the        LLCs,            Partnerships,                 or their


          successors.").                 Irreparable                     injury       is defined                as "that               which              cannot            be repaired,                restored,               or


                                                                           money."
          adequately               compensated                      in                         Bisca,            108            Misc.          at 231.              In      other        words,          it is black                 letter


          law     that     an injury                that      is compensable                     by      money                  damages                   does       not        constitute              irreparable                  harm.


                                                                                                                                                                                                  ("
         U.S.       Re     Companies,                      Inc.     v.     Scheerer,            41      A.D.3d                  152,          155         (1st     Dep't            2007)         ("This           quantifiable



         remedy           precludes                 a finding              of     irreparable             harm.");                    see also              Meissner                v. Yun,            126     A.D.2d                 565,


          566     (1st     Dep't          2015)             (plaintiff             failed      to demonstrate                           irreparable                   harm           "since         he failed              to     show


          that    an award              of money                   damages             would           not       be fair              compensation.");                              Zodkevitch                 v. Feibush,                    49


         A.D.3d           424,        425          (1st     Dep't          2008)        (finding               no     irreparable                      injury            where           "plaintiffs            failed           to


          demonstrate                 that     an award                   of monetary                 damages                   would            not         adequately                  compensate                 them").


                         Even          if Pewzer                  could         demonstrate                   that        Plaintiff             breached                  his     fiduciary             duties         to the



          LLCs,          which         she         cannot,           such         breach        would                be     compensable                          in money                damages.               See        Access


                                                                                                                                                                                                               attorneys'
          Point      Med.,            LLC,          106       A.D.3d              at 43     (rejecting                    argument                   that        a claim          for      return        of    attorneys                  fees


         was      properly             characterized                       as equitable               claim           for        disgorgement).                             Pewzner's                  claim        that        Plaintiff


         breached            his       fiduciary              duties,            moreover,              is based                 on     actions              that         he has          allegedly            already                taken.


          See     Mem.           in    Support              of Application                     for     Hearing                  at 3 (alleging                      Elberg's              "documented                      history             of



         waste,          mismanagement,                            misfeasance,                 malfeasance                        and         his        irreconcilable                    conflicts            of    interest").


          It is nonsense                to     suggest              that        equitable            relief          is warranted                      to compensate                        for     a breach             of      fiduciary


          duty      by    preventing                  some          unstated            future          risk         of     a breach                 of      fiduciary              duty.



                         Finally,            and          perhaps           most       obviously,                    Pewzner                  has      failed             to demonstrate                   how         the       status


          quo     would          cause             any      harm           to the      LLCs           or Pewzner.                           First,          Elberg          is unable             to unilaterally                      act     on


         behalf          of the        LLCs,              as Pewzner                is still         a co-manager.                            Second,               all     of the         complained                 of        conduct




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          occurred              years        ago.       See       supra,        at II.         Given         the        absence            of     any     past      showing              of        injury,


          Pewzner's               claim          that     the     defendant-entities                        are     currently               at risk        because              of    Elberg           is entirely


          unsupported.


                           B.              Pewzner                has      Failed         to    Demonstrate                         a Likelihood                   of     Success             on      the       Merits


                                                                                                                                             "emergency"
                           The        Court         should         deny       Pewzner's                   application                for                                   relief        because                she        has


          failed       to demonstrate                     a likelihood              of     success              on the         merits            of her      claim          that       Plaintiff             should             be


          removed               as co-manager                   of the        LLCs,            or on        any         underlying                claim      for        breach          of     fiduciary               duty.         In



          fact,      she        has     failed       to demonstrate                  any        legal        authority               whatsoever               for        this        Court         to take           the



          extraordinary                  action         of removing                 a co-member                     of       an LLC,              an action             which          the     LLC           Operating


          Agreements                   and       New       York         Limited           Liability               Company                  Law       do not         address.


                                           1.              There           is No         Legal            Authority                 for     the      Court          to     Remove                  Plaintiff            as a
                                                           Co-Manager                     of        the     LLCs


                           Pewzner               concedes           that     the     LLC            operating                agreements                 do not          provide          for        the      expulsion               of


          a managing                  member.              See      Exhibit          2 (RREM                    Operating                 Agmnt.);           Exhibit              3 (RORE                 Operating


          Agmnt.).                Where             LLC        operating            agreements                    are     silent,          the    Limited           Liability                Company                  Law


          (hereinafter                referred          to as the           "LLC          Law")            controls.                See      Ross         v. Nelson,                 54 A.D.3d                 258,        258-59


          (1st     Dep't          2008).            Section         414       of the       LLC            Law       does         not        permit         court         removal              of     a managing


          member.                The      section          permits           removal             only        upon            a "vote         of majority                 in interest               of the        members


                                              thereon."
          entitled         to vote                                 N.Y.         Limit.         Liab.         Co.         § 414.            See     also      Man         Choi          Chiu         v. Chiu,               71


          A.D.3d           646,         647      (2d      Dep't         2010)       (holding               that     despite               references          to expulsion                     of members                       in


          sections          of the         LLC          Law,       "there         is no        statutory            provision                authorizing                 the      courts           to impose                such      a



          remedy.");                  Waxman            Real       Estate          LLC         v.     Sacks,            32    Misc.          3 1241(A),                 *4-5         (N.Y.         Sup.        Ct.     N.Y.


          Cty.       2011);           Janklowicz                v. Landa,           41     Misc.           3d      1220        (A),         *6    (N.Y.          Sup.       Ct.       Kings          Cty.        2013)




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          (absent          a vote         of      majority            interests,             "this      court        is unaware                     of     a legal          basis         for     directing,               ordering


          or adjudging                that        an LLC             member              be removed                    from          a management                           position.").



                           Tellingly,              Pewzner             fails       to address               this     threshold                   dispositive                 issue.         Instead,               she     relies         on


          Business            Corporation                  Law            § 720        (a)(1)(A),             which               permits            an officer               or director               of    a corporation


          to institute             an action             against           another            officer         or director                  for       breach            of    fiduciary             duty,           but     limits          the


          relief     available               in    such        an action               to an accounting                           of the         financial             damages              flowing            from             the


                                                                                                                                         ("
          alleged          breach.              See N.Y.             Bus.        Corp.            § 720       (a)(1)(A)                  ("An        action            may        be brought                 against             one       or


          more       directors               or officers             of    a corporation                    to procure                   a judgment                   . . . to compel                  the     defendant                  to


          account           for     his      official          conduct            . . . .").          Not       only          does        the      Business                 Corporation                  Law         not        apply


          to the      LLCs            at issue           here,       it does           not        provide          for       the     relief         that       Pewzner                 requests.



                           Finally,             it is unlikely             that        the    common                law           provides               the     court        with        the      authority               to


         remove             Elberg           as co-manager                      of the        defendant-entities.                                The       Second             Department                     has     explicitly


         held       that      absent            a provision               in the        operating               agreement                   setting            forth        a mechanism                      for     the


          expulsion               of members,                  the     court           has    no      authority               to remove                  a managing                    member.                Man          Choi



          Chiu,       71 A.D.3d                   at 647.         The          First     Department,                     on        the     other          hand,         has       dealt         with      court          removal


          of    a manager               of      an LLC            on very              few        occasions.                 In    Lehey            v. Goldburt,                  the      First        Department


         reviewed             the       trial      court's           provisional                  removal           of       a defendant-manager                                  of      an LLC             and     its


          appointment                 of the          plaintiff           in that        position.                 90 A.D.3d                   410        (1st     Dep't          2011).               In reviewing                     this


          "extraordinary"
                                                provisional               remedy,             the     First        Department                      balanced                 the    harm           of removing                     the


          defendant               against          the    court's           interest              in maintaining                    the        status          quo.         See     id.    at 411.            Even           in



          Lehey,           where          the      plaintiff          was        able        to    articulate            some             risk       to the        LLCs           based           on the           defendant's



          conduct,           the      court         was        unconvinced                    that      the     removal                  was       appropriate.                   See       id.        Pewzner              has         not


          and      cannot          make           such         a showing.




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                                             2.      Pewzner                has      Failed            to      Demonstrate                            a Likelihood                    of     Success              on    the        Merits
                                                     of      a Breach               of    Fiduciary                   Duty           Claim


                           Pewzner                claims         that       this     provisional                  remedy                 is appropriate                    because               Elberg           has     breached


         his      fiduciary              duties         to the         LLCs          in the          past.           Mem.           in    Support                of Application                      for     Hearing              at 4-5.


          The      alleged             misconduct                    is Elberg's               refusal          to    surrender                  lucrative               license            agreements,                 his       refusal


          to enter          into         a stipulation                of    adjournment                       in the      Foreclosure                      Action,              and        his     refusal         to enter           into      a


          stipulation              of       settlement               in the        Crabapple                  Action.            See           id.        To    establish             a breach               of    fiduciary


          duty,      the         claimant            must           show       (1)       the     existence               of     a fiduciary                    duty,       (2)     breach               of that        fiduciary


          duty,      and         (3)        damages            proximately                     caused           by     the     breach                of    fiduciary             duty.            Burry           v. Madison


          Park       Owner               LLC,        84 A.D.3d                699,         699-700               (1st        Dep't             2011).


                           All      of      Elberg's            challenged                 conduct              was       in    furtherance                      of the         Hotel            Projects          that       the    LLCs


          were       created             to carry            out.       Even         if Pewzner                  was          able        to     somehow                 establish               that      Elberg's


          decisions              were         not       in    furtherance                 of the       Hotel            Projects,               she        cannot          point            to damages                 proximately


          caused        by         any       alleged           breach         of     duty.            The       business                 judgment                 rule     "prohibits                judicial             inquiry


          into     actions             of    corporate               directors            taken          in     good          faith        and         in the         exercise              of     honest         judgment                in


                                                                                                                                purposes."
          the     lawful           and       legitimate               furtherance                of      corporate                                              See      Matter             of     Levandusky                  v. One


          Fifth      Ave.          Apt.         Corp., ., 75 N.Y.2d                       530,        537,       537-38               (1990).              At      the     time         that       Pewzner              pressured



          Elberg        to surrender                     the     IHG        License              Agreement,                    he was                actively            seeking             out     investors              for     the


          Hotel       Projects               to     supplement                Crabapple's                     shortfall              in equity                 under       the     Partnership                    Agreements.


          Elberg's            refusal             was        based         on his         legitimate              judgment                     that       seeing          the     Hotel            Projects            through


          would         deliver              a greater           benefit           to the        defendant-entities                              than          would         a surrender                   of the         franchise


          agreement.                   Pewzner               refuses          to acknowledge                          that      as manager                      of the          general            partners,            Elberg


          owed        fiduciary               duties           not     only        to the        LLCs,           but         also        to the           other        classes          of       limited          partners.               See


          Pokoik           v. Pokoik,                115       A.D.3d              428,        430       (1st        Dep't          2014)             (holding            that        "in        choosing           to burden




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                                                                                                                                                                       himself"
          only       [one         LLC         member]               and       not     all       the     LLCs          members,                   including                                  the     fiduciary            did        not


          "show             'undivided             and        undiluted              loyalty.'")                (citing              Birnbaum               v. Birnbaum,                  73 N.Y.2d.                461,           466


          (1989)).               Elberg         had        an obligation                  to the         other        limited                partners,          the     EB-5          investors            in particular,


                                                   through.6
          to see the              projects         through.


                            As        proposed             (and      as later          effectuated),                  the        buyout/merger                        benefited             certain         classes           of


          limited           partners            to the        detriment              of     others.             See       Exhibit              8 (Letter          of     Intent).            The      agreement


         provided                for     payments              of    $27,000,000                       to the      LLCs               and      $800,000               to Crabapple                  upon        closing.


                                                                                                                 parties'
          See       id.     at 3-4.         Both           payments               exceeded               the     parties               capital         investments                  at the        expense           of the


                                                                                                   investors'
          EB-5            investors,            and        ignored          the      EB-5          investors                  priority           to receive             payments.                 Elberg         offered              to


         negotiate                the    problematic                 terms,          but        that     offer        fell       on      deaf        ears.       Meanwhile,                  rejecting           the


         buyout/merger                        would          have       ultimately                    allowed         the        EB-5           investors             and     Crabapple               to financially


          extricate              themselves                from       the      Hotel            Projects           through               the     eventual             repayment               of their


          investments.                    For      the      LLCs           and      Elberg,             rejection              of the          agreement               would          have         resulted         in     equity


          equal           to the        sum      of their           capital          contribution                  and         its     increase          in value.              But      Pewzner              was        against


          the     Hotel           Projects,           regardless              of their            appreciating                   value.             Elberg's            decision            made         in good              faith


                                                                    LLCs'
          and       in furtherance                    of    the     LLCs             corporate               purpose,                is protected               by     the     business             judgment              rule.


          See     R&L             Realty         Assoc.           v. 205            West         103       Owners               Corp., ., 98 A.D.3d                      421,       422       (1st      Dep't        2011).


                            Even         if those           three      decisions                were         not    protected                  by     the    business             judgment              rule,       Pewzner


          could           not     establish           breach          of      fiduciary               duty       because               not      one      of the         decisions             injured         the


          defendant-entities.                          Pewzner              does          not     even          attempt              to articulate              any      actual         injury          caused           by


          Elberg's               decisions.                Such      a general              and         speculative                   risk     to the        LLCs           cannot          form        the     basis         for




          6
              Under             the     terms      of the           USCIS            EB-5         Program,                the         EB-5          investors           were        required            to invest             in

         projects               that     created           a certain          number              of jobs.             See           Exhibit          11 at 3, 9,            15,      22,     29,     36.       (USCIS
          Requests                for    Evidence).




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          relief.         See    Kassover                 v. Prism          Venture              Partners,                LLC,           53 A.D.3d                444,        450       (1st        Dep't      2008)


          ("mere          speculation               cannot         support              a cause           of     action          for      corporate               waste         or breach              of    fiduciary


          duty").          Given        that        Pewzner          can       establish                neither           past         breaches             of     fiduciary             duty,        nor      a probable


          future      breach           of     fiduciary           duty,       and            given       the      fact      that        the      ability         of the         Court          to remove            Elberg

                                                                                                                                                                                                               claims.7
          is tenuous            at best,           Pewzner          has      not         shown           a likelihood                    of      success          on the         merits             of her     claims.


                                                                                              CONCLUSION


                          For    all    the        reasons        stated           above,            Plaintiff            respectfully                 requests           that        the      Court         deny


          Tamara           Pewzner's                motion         made            by        emergency                application                  in its        entirety.


          Dated:            February                20,    2018

                            New         York,         New         York



                                                                                                                                 Respectfully                     submitted,
                                                                                                                                 By:               /s/James              M.      Catterson

                                                                                                                                                   James           M.     Catterson

                                                                                                                                                   ARNOLD                &      PORTER              KAYE        SCHOLER

                                                                                                                                                   250       West         55th          Street

                                                                                                                                                   New                          New         York                  â€”
                                                                                                                                                                                                          10019-9710
                                                                                                                                                                 York,

                                                                                                                                                   (212)          836-8000



                                                                                                                                                   Attorneys              for       Plaintiff




          7                                                                                                                                                                                                    quo,"
              To    the    extent           that    purpose          of      preliminary                   injunctive                   relief      is "to         maintain              the     status
          Putter      v. City          of New             York,      27 A.D.3d                   250,          253        (1st     Dep't           2006);          accord           Monarch
          Condominium                   v. Raskin,                37 A.D.3d                  288,       289       (1st       Dep't            2007),        Pewzner                has      failed          to make         such
          a showing.             Any          prior       complained                    of    actions            occurred               over       years         ago,        and      in no         way      impact         the
          status   quo as it exists    today.                         It is unclear                    what          kinds         of     actions          Elberg             could         take      to obstruct            the
          defendant-entities'
          defendant-entities        defense                         in this             straightforward                      declaratory               judgment                 contract             action.           In   any
          event,      preliminary                  injunctive             relief         is not        designed              to avoid              litigation.                Putter,          27    A.D.3d            at 253.




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